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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


BRIAN HUDDLESTON,

          Plaintiff,

vs.
                                                       Case No. 4:20-cv-447-ALM
FEDERAL BUREAU OF
INVESTIGATION and UNITED STATES
DEPARTMENT OF JUSTICE

         Defendant


                  PLAINTIFF’S REPLY IN SUPPORT OF MOTION
             FOR INTERIM PAYMENT OF COSTS AND ATTORNEY FEES

       NOW COMES Brian Huddleston, the Plaintiff, moving the Court to award him interim

costs and attorney fees for the reasons set forth below:

                                           Introduction

       According to the Defendants, “the law is settled that interim fee awards [in a FOIA case]

should be granted ‘only in unusual instances of protracted litigation and financial hardship.’ ”

Defendants’ Response to Plaintiff’s Motion for Interim Payment of Costs and Attorney Fees

(hereinafter “Defendants’ Response”)(Doc. No. 59) 2, quoting Allen v. FBI, 716 F.Supp 667, 672

(D.D.C. 1989). To begin with the obvious, the law is not settled for purposes of this case because

no court in the Fifth Circuit has ever addressed the issue. Furthermore, the guidelines from other

circuits are, when read in context, not so onerous as the Defendants suggest:

       [I]n the legislative history [of FIOA] Congress emphasized two policies as underlying the
       enactment of the attorneys' fees provision. First, Congress sought to facilitate citizen
       access to the courts by providing counsel with an incentive to take FOIA cases, and
       second, it aimed to discourage agency delaying tactics designed to achieve unjustified
       withholding of information. In light of these purposes, four factors can be distilled as


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        guides to the court's exercise of discretion. First, the court should consider the degree of
        hardship which delaying a fee award until the litigation is finally concluded would work
        on plaintiff and his or her counsel. The Supreme Court in Bradley [v. School Board of
        City of Richmond] relied heavily on this factor in upholding the interim fee award in that
        case. [416 U.S. 696, 723, 94 S.Ct. 2006, 2022, 40 L.Ed.2d 476 (1974)]. Similarly, in
        Biberman [v. Federal Bureau of Investigation], 496 F.Supp. 263 (S.D.N.Y.1980), the
        court found this consideration to be crucial. Second, the court should consider whether
        there is unreasonable delay on the government's part. When delay is present, an award of
        interim fees would serve the Congress' aim to discourage the use of illegitimate tactics.
        Third, the court should consider the length of time the case has been pending prior to the
        motion, and fourth, the period of time likely to be required before the litigation is
        concluded. For example, in James v. Stockham Valves & Fittings Co., 559 F.2d at 358,
        the court based its interim award on the protracted nature of the Title VII litigation in that
        case, which at the time of the award had been pending for over seven years.

Powell v. U.S. Dep't of Justice, 569 F. Supp. 1192, 1200 (N.D. Cal. 1983). In the likely event

that this Court follows the foregoing guidelines, the Plaintiff will address each of the four factors

in the same order that they were addressed by the Defendants. The Plaintiff must also object to

the Defendant’s request to separately brief the reasonableness of the undersigned’s invoice, and

the Plaintiff will explain his objection at the end of this reply.

(1) All four factors cited by the Defendants weigh in favor of an interim award of attorney
    fees.

        A. Unpaid attorney fees have created financial hardship for Plaintiff’s Counsel.

        Congress long ago recognized the importance of removing financial barriers to FOIA

litigation:

        We must insure that the average citizen can take advantage of the law to the same extent
        as the giant corporations with large legal staffs. Often the average citizen has foregone
        the legal remedies supplied by the Act because he has had neither the financial nor legal
        resources to pursue litigation when his Administrative remedies have been exhausted.

Powell, 569 F. Supp. at 1198, quoting S.Rep. No. 93–854, 93d Cong., 2d Sess. at 17–18 (1974),

in turn quoting from 1973 Senate Hearings, Vol. 1 at 175. That statement alone weighs heavily

against the Defendants’ premise that interim fees should be rare and difficult to obtain. To the

extent that other courts have diverted from Congress’s stated intent, this Court should chart a


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different course from the other courts. After all, attorneys might be far less inclined to take on

FOIA cases if they must wait years to get paid for their services. And the Powell court noted as

much when awarding interim fees. 569 F. Supp. at 1204.

        In this case, Plaintiff’s Counsel will face significant financial hardship absent an interim

award of attorney fees. The Defendants have argued that the undersigned’s declaration about

financial hardship is conclusory, therefore he has separately offered another declaration

providing more detailed information. See May 16, 2022 Declaration of Ty Clevenger (Doc. No.

61)(filed under seal). From that declaration, the Court can see that $55,331.65 worth of unpaid

attorney fees works a significant hardship on Plaintiff’s Counsel. Even without the declaration, it

should be self-evident that $55,331.65 is a very significant amount of money to the vast majority

of practitioners.

        The Defendants next fault Plaintiff’s Counsel because he took this case on a contingency

basis, arguing that “[s]uch is the nature of working on a case on a contingency fee basis” and any

financial burden is “attributable to how counsel has chosen to conduct his business, not evidence

of any undue hardship.” Defendant’s Response 3. That cynical response overlooks the fact that

this case was never about “business.” The undersigned took the case pro bono because the issues

at stake are matters of exceptional public interest and importance. 1 See May 16, 2022 Declaration

of Ty Clevenger. In Powell, the court determined that pro bono representation actually weighed

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 Special Counsel John Durham already has obtained the conviction of FBI attorney Kevin Clinesmith
and the indictment of private attorney Michael Sussman, both of which indicate that the Russian collusion
narrative was fabricated. See “FBI Attorney Admits Altering Email Used for FISA Application During
‘Crossfire Hurricane’ Investigation,” August 19, 2020 Press Release, U.S. Attorney’s Office for the
District of Connecticut (https://www.justice.gov/usao-ct/pr/fbi-attorney-admits-altering-email-used-fisa-
application-during-crossfire-hurricane) and “Grand Jury Indicts D.C. Attorney with Making False
Statements to the FBI in 2016 Regarding Alleged Communications Between Trump Organization and
Russian Bank,” September 16, 2021 Press Release, Special Counsel’s Office (https://www.justice.gov/
sco/pr/grand-jury-indicts-dc-attorney-making-false-statements-fbi-2016-regarding-alleged) If more FBI
personnel (and perhaps Special Counsel Robert S. Mueller or his staff) were part of a scheme to shift
blame from Seth Rich to Russia, then the public has a right to know about it.


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in favor of an interim award of attorney fees. 569 F.Supp. at 1200 (“[I]t would be unfair to

require plaintiff and his counsel to wait until its conclusion for an award of fees especially in

light of the fact that counsel has taken plaintiff's case pro bono”); see also id. at 1204.

Furthermore, the Plaintiff himself does not have the means to pay the $55,331.65 invoice. See

May 16, 2022 Declaration of Brian Huddleston (Exhibit 1). The financial hardship on the

Plaintiff and Plaintiff’s Counsel is excessive, and the Powell court noted that financial hardship

alone may be sufficient to justify an interim fee award. Powell, citing Biberman v. Federal

Bureau of Investigation, 496 F.Supp. 263 (S.D.N.Y. 1980).

       B. The Defendants’ delays have been unreasonable.

       In support of the Defendants’ argument that their delays in this case have been

reasonable, they point to a stay that the Court granted a little over a year ago. They ignore the

fact that the Court denied their most recent request for additional time. See April 21, 2022 Order

(Doc. No. 51). Perhaps more importantly, they ignore the history of related litigation. Since

2017, the FBI has been delaying, stonewalling, and lying about records pertaining to Seth Rich.

See Plaintiff’s Response in Opposition to Defendants’ Motion for Summary Judgment and

Plaintiff’s Cross-Motion for Summary Judgment (Doc. No. 46)(hereinafter “Cross-Motion”) 5

(citing the record). Thus the FBI’s delays have not only been unreasonable, but the product of

bad faith. Those bad-faith delays merit an interim award of fees.

       C. This case has been pending for almost two years.

       The Plaintiff filed this case on June 1, 2020, just short of two years ago. The Powell court

awarded attorney fees after that case had been pending a little over 18 months. 569 F.Supp. at

1200. Furthermore, and as noted above, similar requests for records about Seth Rich date back to

2017. This factor weights in favor of an interim fee award.



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         D. This case will likely continue for a year or more.

         Obviously the Court is in the best position to determine how much longer this case is

likely to continue. For that reason, the Plaintiff would direct the Court’s attention to his

discovery requests in the cross-motion for summary judgment. See Cross-Motion 31-32. If the

Court grants the Cross-Motion, much less the discovery requests, then this case will likely linger

for a year or more. At this point, we don’t even know how many emails and texts are in question,

much less the contents of Seth Rich’s two laptops. This factor weights in favor of an interim fee

award.

(2) The Defendants failed to address the reasonableness of the invoice of Plaintiff’s
    Counsel, and they should not get a second bite at the apple.

         Toward the end of their response, the Defendants move the Court to grant them

permission to separately and subsequently brief the reasonableness of the undersigned’s invoice.

In other words, they want to drag things out by at least a couple more months. The Defendants

did not confer with Plaintiff’s Counsel, as required by Local Rule 7(h), before making their

request to the Court. And they do not cite any authority in support of their request for piecemeal

briefing, nor is the Plaintiff aware of any. The Defendants thus waived their opportunity to brief

the reasonableness of the fee invoice, and the Court can determine for itself whether the invoice

is reasonable.

                                             Conclusion

         All four factors identified in Powell support the Plaintiff’s request for attorney fees, and

the Defendants have waived their opportunity to contest the amount. The Court should therefore

grant the Plaintiff’s fee request as submitted.




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                                            Respectfully submitted,

                                            /s/ Ty Clevenger
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                                     Certificate of Service

        On May 16, 2022, I filed a copy of this response with the Court’s ECF system, which
should result in automatic notification via email to Asst. U.S. Attorney Andrea Parker, Counsel
for the Defendants, at andrea.parker@usdoj.gov.

                                            /s/ Ty Clevenger
                                            Ty Clevenger




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